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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  CELLULAR COMMUNICATIONS                     )
  EQUIPMENT LLC,                              )
                                              )   Case No. 2:15-cv-0576-RWS-RSP
                   Plaintiff,                 )             (Lead Case)
                                              )
  v.                                          )
                                              )   JURY TRIAL DEMANDED
  AT&T, INC., ET AL.,                         )
                                              )
                   Defendants.
                                              )
                                              )
                                              )



                 PLAINTIFF’S OPENING CLAIM CONSTRUCTION BRIEF




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   I.      INTRODUCTION

           Pursuant to P.R. 4-5(a) and the Court’s Amended Docket Control Order of July 25, 2016

   (Dkt. No. 201), Plaintiff Cellular Communications Equipment LLC (“Plaintiff” or “CCE”) hereby

   files its Opening Claim Construction Brief. CCE asserts six United States patents in this lawsuit:

   U.S. Patent No. 8,457,022 (“the ’022 patent”), U.S. Patent No. 8,570,957 (“the ’957 patent”),

   U.S. Patent No. 8,867,472 (“the ’472 patent”), U.S. Patent No. 8,457,676 (“the ’676 patent”), U.S.

   Patent No. 9,025,590 (“the ’590 patent”), and U.S. Patent No. 9,078,262 (“the ’262 patent”)

   (collectively, the “patents-in-suit”).

           The patents-in-suit are part of a broader portfolio acquired from Nokia Siemens Networks

   (“NSN”) and generally relate to mobile communications. The ’022, ’957, ’472, ’676, ’590 and

   ’262 Patents have been declared potentially essential to practicing LTE wireless standards, and

   cover aspects of implementation and use of those technologies. The accused infringing products

   are mobile devices (i.e., user equipment), including cellular phones, tablets, and wireless cards,

   and base station products (i.e., network equipment).1

           There are twenty claim terms disputed. The parties have agreed to the construction of two

   claim terms. See Dkt. No. 209. Of the twenty disputed claim terms, Defendants have offered a

   construction for only one term. The other nineteen concern indefiniteness allegations. Of those

   nineteen terms, twelve require a threshold determination as to whether they are governed by 35

   U.S.C. § 112 ¶ 6. Those twelve terms will be addressed in this opening brief. The construction of

   the other eight terms under dispute will also be addressed. But because Defendants bear the burden

   of proving that a claim is indefinite, CCE will respond to Defendants’ allegations of indefiniteness

   in its reply claim construction brief. See Dkt. No. 201.


   1
    The ’590 and ’262 Patents are not asserted against mobile devices and therefore are not asserted
   against Defendants Apple, HTC, and ZTE.

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          As will be shown throughout this brief in detail, Defendants’ proposed claim construction

   positions are each plagued with one or more of the following flaws: (1) Defendants improperly

   limit the scope of claim terms by impermissibly injecting limitations that are inconsistent with the

   plain meaning; (2) Defendants argue hyper-technical readings of claim terms to argue

   indefiniteness, rather than relying on the abilities of a person of ordinary skill to apply the

   unambiguous plain meaning; and (3) Defendants seek to improperly stretch § 112 ¶ 6 to apply

   where it shouldn’t, and thereby argue that well-understood claim terms with significant structure

   are indefinite. Because these flaws permeate Defendants’ positions, they should be rejected.

   II.    APPLICABLE LAW

          A.      A Claim Should Be Given The Full Range of Its Ordinary Meaning.

          The claims of a patent “define the invention to which the patentee is entitled the right to

   exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (citation omitted).

   Consequently, “[c]laim construction begins with the language of the claim.” Power Integrations,

   Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1360 (Fed. Cir. 2013). Claim terms

   generally receive their ordinary and customary meaning, which is the meaning that a person of

   ordinary skill in the art would have understood the claim term to have as of the filing date of the

   patent application. Phillips, 415 F.3d at 1313. “[U]nless compelled to do otherwise, a court will

   give a claim term the full range of its ordinary meaning as understood by an artisan of ordinary

   skill.” Rexnord Corp. v. Laitram Corp., 274 F.3d 1336, 1342 (Fed. Cir. 2001).

          There are “only two exceptions to [the] general rule” that claim terms are construed

   according to their plain and ordinary meaning: “1) when a patentee sets out a definition and acts

   as his own lexicographer, or 2) when the patentee disavows the full scope of the claim term either

   in the specification or during prosecution.” Golden Bridge Tech., Inc. v. Apple Inc., 758 F.3d 1362,

   1365 (Fed. Cir. 2014) (quoting Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365

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   (Fed. Cir. 2012)); see also GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309

   (Fed. Cir. 2014) (“[T]he specification and prosecution history only compel departure from the

   plain meaning in two instances: lexicography and disavowal.”). The standards for finding

   lexicography or disavowal are “exacting.” GE Lighting Solutions, 750 F.3d at 1309.

          To act as his own lexicographer, the patentee must “clearly set forth a definition of the

   disputed claim term,” and “clearly express an intent to define the term.” Id. (quoting Thorner, 669

   F.3d at 1365). The patentee's lexicography must appear “with reasonable clarity, deliberateness,

   and precision.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1249 (Fed. Cir.

   1998). To disavow or disclaim the full scope of a claim term, the patentee's statements in the

   specification or prosecution history must amount to a “clear and unmistakable” surrender. Cordis

   Corp. v. Boston Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009).

          B.      A Claim Should Be Construed In Light of the Specification, Without
                  Reading Limitations into the Claims.

          Notwithstanding the primacy of the claim language, courts interpret claim language “in

   light of the intrinsic evidence of record, including the written description, the drawings, and the

   prosecution history.” Power Integrations, 711 F.3d at 1360 (citation omitted). The specification

   can be useful, for example, to “determine whether the inventor has used any terms in a manner

   inconsistent with their ordinary meaning.” Vitronics Corp. v. Conceptronic, 90 F.3d 1576, 1582

   (Fed. Cir. 1996). Additionally, “[i]diosyncratic language, highly technical terms, or terms coined

   by the inventor are best understood by reference to the specification.” 3M Innovation Props. Co.

   v. Tredegar Corp., 725 F.3d 1315, 1321 (Fed. Cir. 2013). Although the specification can be a

   useful guide to how the inventor used a disputed term, “limitations discussed in the specification

   may not be read into the claims.” Id.; see also Kara Tech. Inc. v. Stamps.com Inc., 582 F.3d 1341,

   1348 (Fed. Cir. 2009). Indeed, the Federal Circuit has repeatedly held that courts may not import


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   limitations from embodiments disclosed in the specification in order to limit or otherwise vary the

   meaning of the claim language. Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 905-06 (Fed.

   Cir. 2004); Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1327-28 (Fed. Cir. 2002);

   Inverness Med. Switzerland GmbH v. Warner Lambert Co., 309 F.3d 1373, 1379 (Fed. Cir. 2002)

   (“It is improper to limit the claim based on a preferred embodiment of the invention.”).

          Extrinsic evidence, such as technical dictionaries, may “help educate the court regarding

   the field of the invention and can help the court determine what a person of ordinary skill in the

   art would understand claim terms to mean,” but such evidence should be considered in the context

   of the intrinsic record. Phillips, 415 F.3d at 1319. Extrinsic evidence cannot be used to “vary,

   contradict, expand, or limit the claim language from how it is defined, even by implication, in the

   specification or file history.” Bell Atl. Network Servs., Inc. v. Covad Commc’ns Grp., Inc., 262

   F.3d 1258, 1269 (Fed. Cir. 2001).

          C.      35 U.S.C. § 112 ¶ 6 Does Not Apply if There Is Sufficient Structure Within
                  the Claim Itself to Perform the Recited Function.

          Under 35 U.S.C. § 112 ¶ 6, a patentee may elect to express a claim limitation as a means

   for performing a specified function, without reciting a particular structure. See Inventio AG v.

   Thyssenkrupp Elevator Ams., 649 F.3d 1350, 1355-56 (Fed. Cir. 2011). Such elements are

   construed to cover the corresponding structure clearly linked or associated with the claimed

   function in the specification or file history, and equivalents of those structures. Med

   Instrumentation & Diagnostics Corp. v. Elekta AB, 344 F.3d 1205, 1219 (Fed. Cir. 2003).

          Use of the word “means” creates a presumption that § 112, ¶ 6 applies. Personalized Media

   Commc’ns, LLC v. Int’l Trade Comm’n, 161 F.3d 696, 703 (Fed. Cir. 1998). Conversely, “the

   failure to use the word ‘means’ creates a presumption that § 112, ¶ 6 does not apply.” Id. at 703–

   04; see also Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015) (en banc).


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   beyond the embodiments disclosed by the ’957 patent. The Court should reject this attempt to limit

   the claims to a singular embodiment of the invention. See Inverness, 309 F.3d at 1379.

          The term “radio network resources” is well-understood by a person of ordinary skill in the

   art to be any available resource in a radio network that can, for example, be allocated, managed,

   scheduled, or assigned. This understanding is further informed by the surrounding claim language

   of claims 4 and 10 of the ’957 patent. In both claims (as well as in claims 14 and 16) the term

   “radio network resources” is used similarly: “allocating radio network resources based on the

   power headroom report,” “allocating additional radio network resources to a user equipment when

   the power headroom indicates positive headroom,” and “allocate fewer radio network resources to

   the user equipment when the power headroom report indicates negative headroom.” Thus, the

   claim language does not limit the “radio network resource” to any specific resource. Based on the

   claim language, the “radio network resource” must be allocable to a user equipment in either a

   greater or lesser amount. But nothing in the claim language supports Defendants’ proposed

   narrowing of the term to “resource blocks.”

          The ’957 patent specification provides examples of the radio network resources beyond

   just resource blocks. One aspect of the invention provides an extension of power headroom

   reporting provided by the user equipment (UE) to allow for a more efficient resource allocation by

   an evolved Node B (eNodeB). ’957 patent at 1:22-26. In systems not utilizing the invention,

   “resources on the air interface are somehow wasted since the scheduler is not aware of how much

   the UE power budget is exceeded.” Id. at 3:16-18. The type of resource allocation that could benefit

   from this invention is not limited by the patent. The additional information in the power headroom

   report “can be important for performing correct radio resource management and link quality

   control decisions at the eNodeB, especially for the adaptation of the modulation and coding



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          In view of the claim language and the patent specification, one of ordinary skill in the art

   would understand the term “subtracting the nominal maximum transmission power and the power

   that the apparatus would use if it did not apply maximum power limitations” to mean “subtracting

   from the nominal maximum transmission power the power that the apparatus would use if it did

   not apply maximum power limitations.” The claim limitation recites a computation that is

   referenced repeatedly throughout the ’957 patent without any ambiguity. CCE’s proposed

   construction clarifies the claim language to more accurately reflect that calculation (with the mere

   insertion of “from”) and should, therefore, be adopted.

          Claims 1 and 7 make clear that the “subtracting” limitation recites the computation used

   “to determine the power headroom.” See ’957 patent at 9:19-22, 9:60-63. The ’957 patent

   definitively states that “power control headroom is the difference between the nominal maximum

   transmission power and the power at the UE, e.g. the power that the UE would use if it did not

   apply maximum power limitations.” Id. at 4:16-19. Further, the ’957 patent provides an example

   calculation that results in indisputable clarity that the “difference” is calculated by subtracting the

   power at the UE (the power that the UE would use if it did not apply maximum power limitations)2

   from the nominal maximum transmission power (Pmax):




                 Subtracting from Pmax the Power at UE = Power Headroom

   Id. at 3:32-35 (annotated).

          In addition to the specification’s overwhelming clarity, the prosecution history of the ’957


   2
     This value is represented by the “right part of the min-function” of Equation 1. See ’957 patent
   at 3:28-35, 4:30-55, 4:61-66.

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   with the obvious and reasonable understanding of this limitation and clarifies the meaning to be

   consistent with a previous iteration of the claim language found in the prosecution history of the

   ’022 patent. When viewed in totality, the meaning of “one or more of the predetermined

   subframes” would be reasonably ascertained by those skilled in the art to be “one or more

   predetermined subframes.” There is no reasonable debate as to the correct meaning, and therefore,

   the Court should correct this obvious clerical error.

          A court may correct an error in a patent claim “if (1) the correction is not subject to

   reasonable debate based on consideration of the claim language and the specification and (2) the

   prosecution history does not suggest a different interpretation of the claims.” See Novo Indus., L.P.

   v. Micro Molds Corp., 350 F.3d 1348, 1354 (Fed.Cir.2003). While CCE’s proposed construction

   is well-understood to be correct when viewed in the context of the claims, review of the

   prosecution history leaves no room to doubt this conclusion. Indeed, the disputed claim limitation

   originally appeared as “one or more predetermined subframes.” ’022 patent FH, 9/28/2011 Resp.

   to OA at 2 (CCE576-000226) (amending claim 1 to include the limitation “wherein the assignment

   includes excluding one or more predetermined subframes in even-numbered radio frames if the

   subframes are within the transmission window”). In a subsequent amendment, the limitation

   “determining whether one or more predetermined subframes are a mixture of multi-cast subframes

   and unicast subframes” was added to claim 1 and the currently disputed limitation was amended

   to “one of more of the predetermined subframes” to account for the newly added limitation already

   introducing “one or more predetermined subframes.” ’022 patent FH, 9/4/2012 Resp. to OA at 2

   (CCE576-000075). But in a final amendment leading to allowance, claim 1 was amended to

   remove the “determining whether one or more predetermined subframes are a mixture of multi-

   cast subframes and unicast subframes” limitation. ’022 patent FH, 12/13/2012 Resp. to OA at 2



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   on the channel information, it should be rejected. Beyond that dispute, the parties agree that the

   limitation does not need construction. Thus, the Court should find the limitation to be definite and

   apply the plain and ordinary meaning to this limitation.

          Defendants’ proposal that the channel information that is established with respect to the

   selected downlink component carrier be “aperiodic” channel information is unsupported and

   inaccurate. Claims 1 and 28 each recite “a request for providing aperiodic channel information

   with respect to a selected downlink component carrier.” The term “aperiodic” is understood by

   those skilled in the art to modify the “providing” of the channel information—not the channel

   information. See ’472 patent at 13:3-6, 13:10-11, 15:2-4, 15:7-8. Thus, where the claims refer to

   the channel information itself—as opposed to the providing of channel information—the channel

   information is not recited as “aperiodic” channel information. See, e.g., id. at 13:12-15, 15:9-12

   (reciting “establishing channel information” and “sending the channel information”).

          Defendants’ attempt to attach “aperiodic” to the channel information ignores common

   sense, because there is nothing periodic or aperiodic about channel information. As described by

   the ’472 patent, channel information (e.g., channel state information (CSI) or channel quality

   indicators (CQI)) is the feedback provided by the user equipment (UE) allowing adaptive

   modulation and coding schemes with efficient frequency domain link adaptation scheduling that

   is necessary for implementation of LTE carrier aggregation. Id. at 2:1-4. The channel information

   “may include channel quality indicators (CQI), Precoding Matrix Indicators (PMI), Rank

   Indicators (RI) and/or channel frequency or impulse response and/or channel covariance matrix.”

   Id. at 2:4-8. These various metrics comprise measurements that describe the current state of the

   component carriers, and may be compiled in a CSI report, for example. The information is neither

   periodic nor aperiodic—but the manner in which the report is provided by the UE may be. The



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          The dispute between the parties is essentially the same as that discussed above with regard

   to “establishing channel information.” Defendants again attempt to require the channel information

   that is established to be “aperiodic” channel information. The limitation “the channel information”

   appears in claims of both the ’472 patent and the ’262 patent. The ’262 patent is a continuation of

   the ’472 patent and shares a common specification. The term “the channel information” is used in

   the same manner in the claims of both patents. For the same reasons provided above with regard

   to “establishing channel information,” Defendants’ construction should be rejected. CCE’s

   arguments in regard to “establishing channel information” are incorporated herein by reference.

          The term “the channel information” requires no construction. In each claim in which it

   appears, there is no uncertainty as to its meaning. “The channel information” refers unambiguously

   to the channel information that is, or will be, provided (i.e., “sent”) in response to the request for

   providing aperiodic channel information. The restriction imposed by Defendants’ construction is

   contrary to the claim language and the description of the invention by the ’472 and ’262 patents.

          Again, there is nothing periodic or aperiodic about channel information. As described by

   the ’472 patent, the channel information “may include channel quality indicators (CQI), Precoding

   Matrix Indicators (PMI), Rank Indicators (RI) and/or channel frequency or impulse response

   and/or channel covariance matrix.” ’472 patent at 2:4-8. These various metrics comprise

   measurements that describe the current state of the component carriers, and may be compiled in a

   CSI report, for example. The information is neither periodic nor aperiodic—but the manner in

   which the report is provided by the UE may be. The ’472 patent contrasts a periodic CSI report to

   an aperiodic CSI report, explaining that “an aperiodic CSI report is sent by the UE [only] when it

   is triggered to do so,” as opposed to a periodic report that would be scheduled to be sent

   automatically based upon, for example, a periodic timer. Id. at 3:7-9. Thus, the ’472 patent’s



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   patent at 16:10-17. The ’472 patent specification describes the sending of the request in the exact

   terms of the claim, with the correction that it clarifies that the request is “sent on the component

   carrier for which the aperiodic channel information is to be provided.” Id. at 10:11-13 (emphasis

   added). A person of ordinary skill in the art with any question as to what this limitation means

   would certainly refer to the specification to surmise the meaning. Upon review of the specification,

   there can be no doubt as to this limitation’s meaning.

          Indeed, claims 1, 16, and 31 of the ’262 patent (which is a continuation of the ’472 patent)

   all include the same limitation, but match the description in the specification—“on a component

   carrier for which the aperiodic channel information is to be provided.” ’262 patent at 13:11-14,

   14:9-11, 15:5-7. Notably, these claims were amended during prosecution in an Examiner’s

   Amendment to replace “is provided” with “is to be provided” following a Notice of Allowance.

   ’262 patent FH, 5/27/2015 Corrected Notice of Allowability at 2 (CCE576-001569).

          Defendants do not challenge the analogous claim language in the ’262 patent, presumably

   because they agree that the replacement of “is provided” with “is to be provided” provides clarity

   to the claim limitation. The Court should provide the clarity that Defendants seek on the ’472

   patent by construing the limitation as “on a component carrier for which the aperiodic channel

   information is to be provided,” and thereby, removing the dispute.

          B.      Claim Limitations Alleged To Be Governed by 35 U.S.C. § 112 ¶ 6.

          Defendants’ contention that twelve claim limitations across the asserted patents are means-

   plus-function claim terms under 35 U.S.C. § 112 ¶ 6 should be rejected in each case. None of the

   terms alleged to be governed by § 112 ¶ 6 include the use of the word “means,” and are, therefore,

   presumed not to be means-plus-function limitations. Personalized Media, 161 F.3d at 703-04.

   Each of the alleged limitations recites sufficiently definite structure for performing the claimed

   functions. Defendants’ arguments are merely an attempt to stretch the applicability of the law in

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   view of the Federal Circuit’s Williamson ruling that overruled the “strong” presumption that had

   been applied based on the use (or lack of use) of the term “means.” See Williamson, 792 F.3d at

   1349. However, that presumption still applies. Id. Defendants must overcome that presumption for

   each of the disputed claim limitations. They cannot meet that burden, even under the “balanced

   analytical scale” of Williamson that will undoubtedly be the focus of their arguments. See id.

          Of the twelve disputed claim limitations, nine of them are limitations reciting a “processor

   configured to . . .” perform a function. Two more are limitations involving “memory including

   software . . . configured, with the at least one processor . . . .” The same (or substantially similar)

   arguments that limitations reciting “a processor” or “software” performing a function should be

   governed by § 112 ¶ 6 have been rejected by courts in this district repeatedly. See, e.g., Smartflash

   LLC v. Apple Inc., 77 F. Supp. 3d 535, 562 (E.D. Tex. 2014); Syncpoint Imaging, LLC v. Nintendo

   of Am. Inc., No. 2:15-CV-00247-JRG-RSP, 2016 WL 55118, at *18 (E.D. Tex. Jan. 5, 2016);

   Advanced Mktg. Sys., LLC v. CVS Pharmacy, Inc., No. 6:15-CV-134-JRG-KNM, 2016 WL

   1741396, at *20 (E.D. Tex. May 3, 2016); Uniloc USA, Inc. v. Autodesk, Inc., No. 2:15-CV-1187-

   JRG-RSP, 2016 WL 3647977, at *18-20 (E.D. Tex. July 7, 2016). The courts have found that those

   terms have a sufficiently definite meaning as the name for structure. Smartflash, 77 F. Supp. 3d at

   562-63 (finding claim terms reciting “processor” and code” were sufficiently coupled to the code’s

   or processor’s operation and therefore were not means-plus-function terms), reconsideration

   denied, 6:13-CV-447-JRG-KNM, 2015 WL 4208754 (E.D. Tex. July 7, 2015) (finding that

   “processor” and “code” are not a nonce words after Williamson); Syncpoint, 2016 WL 55118 at

   *18 (finding the phrase “processor . . . for . . .” connotes sufficiently definite structure to one of

   ordinary skill in the art); Advanced Marketing, 2016 WL 1741396 at *20 (finding the phrase “data

   processor for” not to be a generic nonstructural term such as the terms “means,” “element,” and



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   “device” that typically do not connote sufficient structure); Uniloc USA, 2016 WL 3647977 at *20

   (finding that the phrase “add-on computer software code” connotes sufficiently definite structure);

   see also Williamson, 792 F.3d at 1349.

           The Federal Circuit has agreed that terms such as those in dispute here connote sufficiently

   definite structure when coupled with a description of the operation. Linear Tech. Corp. v. Impala

   Linear Corp., 379 F.3d 1311, 1320 (Fed.Cir.2004) (finding that “when the structure-connoting

   term ‘circuit’ is coupled with a description of the circuit's operation, sufficient structural meaning

   generally will be conveyed to persons of ordinary skill in the art, and § 112 ¶ 6 presumptively will

   not apply”). In Personalized Media, the Federal Circuit reversed the International Trade

   Commission’s holding that the term “digital detector for [performing a function]” was governed

   by § 112, ¶ 6 and that the claim was indefinite for lack of structure. Personalized Media, 161 F.3d

   at 700–01, 703–707. The Federal Circuit held that “‘detector’ had a well-known meaning to those

   of skill in the electrical arts connotative of structure.” Id. at 704–05.

           Other district courts have also rejected the same arguments presented by Defendants here,

   finding that terms such as “processor” and “software” do not fall under 112 ¶ 6 when coupled to

   their operations. Collaborative Agreements, LLC v. Adobe Sys. Inc., No. 15-CV-03853-EMC,

   2015 WL 7753293, at *4–8 (N.D. Cal. Dec. 2, 2015) (“code segment [for performing a function]”

   found to be sufficiently definite structure on reconsideration after Williamson because the claim

   described the operation of the code segment); Finjan, Inc., v. Proofpoint, Inc., No. 13-CV-05808-

   HSG, 2015 WL 7770208, at *9–11 (N.D. Cal. Dec. 3, 2015) (“processor [for performing a

   function]” found to be sufficiently definite structure because the claim described how the processor

   functions with the other claim components); SuperSpeed, L.L.C. v. Google, Inc., No. H-12-1688,

   2014 WL 129225, at *22–23 (S.D. Tex. Jan. 14, 2014) (“executable . . . code” found to be



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    plurality of             other component carriers of the          selected downlink component
    component carriers       plurality of component carriers other    carrier”
    other than the           than the selected downlink               Structure: no corresponding
    selected downlink        component carrier.                       structure (algorithm)
    component carrier”       Structure: “a processor”                 disclosed. Indefinite.
    (’472 patent, claim
    10)
    “a processor             Not governed by 35 U.S.C. § 112, ¶6.     Governed by 35 U.S.C. §
    configured to                                                     112, ¶6.
    generate a request for   To the extent this limitation is         Function: “generate a request
    providing aperiodic      determined to be governed by 35          for providing aperiodic
    channel information      U.S.C. § 112(6):                         channel information with
    with respect to a        Function: generate a request for         respect to a selected downlink
    selected downlink        providing aperiodic channel              component carrier of a
    component carrier of     information with respect to a selected   plurality of component
    a plurality of           downlink component carrier of a          carriers”
    component carriers”      plurality of component carriers.         Structure: no corresponding
    (’472 patent, claim      Structure: “a processor”                 structure (algorithm)
    15)                                                               disclosed. Indefinite.
    “wherein the             Not governed by 35 U.S.C. § 112, ¶6.     Governed by 35 U.S.C. §
    processor is                                                      112, ¶6.
    configured to            To the extent this limitation is         Function: “generate a request
    generate a request for   determined to be governed by 35          for providing channel
    providing channel        U.S.C. § 112(6):                         information for at least one of
    information for at       Function: generate a request for         the other component carriers
    least one of the other   providing channel information for at     of the plurality of component
    component carriers       least one of the other component         carriers other than the
    of the plurality of      carriers of the plurality of component   selected component carrier”
    component carriers       carriers other than the selected         Structure: no corresponding
    other than the           component carrier.                       structure (algorithm)
    selected component       Structure: “a processor”                 disclosed. Indefinite.
    carrier” (’472 patent,
    claim 25)
    “wherein the             Not governed by 35 U.S.C. § 112, ¶6.     Governed by 35 U.S.C. §
    processor is                                                      112, ¶6.
    configured to include    To the extent this limitation is         Function: “include the
    the request for          determined to be governed by 35          request for providing the
    providing the            U.S.C. § 112(6):                         aperiodic channel
    aperiodic channel        Function: include the request for        information in an uplink
    information in an        providing the aperiodic channel          grant”
    uplink grant” (’472      information in an uplink grant.          Structure: no corresponding
    patent, claim 27)        Structure: a processor                   structure (algorithm)
                                                                      disclosed. Indefinite.




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          Each of the above claim limitations recites a processor configured to perform a function.

   Because, in each case, the term “processor,” which itself connotes structure, is coupled to claim

   language describing the operation of the processor, the term “processor” would be understood by

   persons of ordinary skill in the art to have a sufficiently definite meaning as the name for structure.

   See Williamson, 792 F.3d at 1349; Linear Tech, 379 F.3d at 1320.

          Just as was found in Smartflash, Syncpoint, and Advanced Marketing, the term “processor”

   is not a nonce word such as “means,” “element,” or “device” in the context of these claims because

   it connotes a well-understood structure having sufficient definition within the art. Smartflash, 77

   F. Supp. 3d at 562-63; Smartflash, 2015 WL 4208754 at *3; Syncpoint, 2016 WL 55118 at *18;

   Advanced Marketing, 2016 WL 1741396 at *20. Further, the claims themselves include the

   “objectives or operations” of the processor. Linear Tech., 379 F.3d 1311, 1320-21. For example,

   in claim 1, the processor is coupled to two operations: (1) determining the selected downlink

   component carrier; and (2) establishing channel information. ’472 patent at 13:7-13. The

   “determining” operation is further described to be implemented by identifying “which component

   carrier of the plurality of component carriers carried the request.” Id. The “establishing” operation

   is further defined to operate on “the selected downlink component carrier.” Id. Claim 10 couples

   yet another operation to the processor of claim 1: “provid[ing] channel information for at least one

   of the other component carriers.” Id. at 13:54-56. Claim 15 similarly identifies the operation

   coupled to the processor as “generat[ing] a request for providing aperiodic channel information.”

   Id. at 14:8-11. Claim 25 recites the processor operation of generating a second request, and claim

   27 further specifies the operation of including the first request in an uplink grant. Id. at 14:57-61,

   14:65-67. These operations found within the claim limitations and tied to the recited processors

   are specific and inform the structure of the processor such that one of ordinary skill would find



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   sufficiently definitive structure to the limitations.

           The specification further informs the claims by describing how each operation is

   implemented by the processor. See Advanced Marketing, 2016 WL 1741396 at *20. For example,

   the ’472 patent specification discusses in detail how the processor determines the selected

   downlink component carrier, providing six separate embodiments for implementing the

   determination of the selected downlink component carrier. ’472 patent at 5:1-6:41. The first

   embodiment, for example, derives the selected downlink component carrier from the component

   carrier that carried the uplink grant with the aperiodic CSI trigger. Id. at 5:22-33. The specification

   also describes how the processor of claim 1 would “establish channel information.” Specifically,

   the ’472 patent states that “the processor determines the component carrier to be monitored or

   evaluated, for example based on information as will be described in the following. Then, the

   processor monitors the channel in order to detect the channel quality of the component carriers or

   the like.” Id. at 3:56-61. Thus, not only do the claims recite sufficient structure for the processor,

   the specification further informs the claimed operations such that a person of ordinary skill can

   easily understand the structure, scope, and definition of the claimed “processor” limitations.

   Accordingly, each of the above claim limitations reciting a “processor” is not a means-plus-

   function limitation requiring construction under 35 U.S.C. § 112 ¶ 6.

           To the extent the Court determines that these limitations should be construed under § 112

   ¶ 6, the corresponding structure to each recited function is a processor. The specification broadly

   describes a processor capable of performing the recited functions. The processor would be

   incorporated into a user equipment (UE) in the case of claims 1 and 10, and would be incorporated

   into an evolved node B (eNB) in the case of claims 15, 25, and 27. See id. at 3:45-6:4, 6:22-29,

   7:45-61, 8:4-22, 10:11-13, 11:39-42, 12:4-61, Figures 1-3.



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   are presumed not to be means-plus function limitations. Further, the “memory including software”

   claim limitations would be understood by persons of ordinary skill in the art to have a sufficiently

   definite meaning as the name for structure. See Williamson, 792 F.3d at 1349; Linear Tech, 379

   F.3d at 1320. The limitations recite structure in the form of memory, software, and a processor.

   Each of these claimed elements has its own well-understood structure, and when combined

   together, as the claim limitations do, connotes more than sufficient structure, such that a person of

   ordinary skill in the art is informed of the definition of the claim limitation by far more than the

   mere function that these elements perform. Further, because the limitations recite a processor that

   is configured with memory and software to carry out the recited operations, these claim limitations

   are not means-plus-function limitations for the same reasons provided above with regard to the

   “processor” limitations of the ’472 patent. Those arguments are incorporated herein by reference.

          Though the recital of a processor is sufficient to end this inquiry and find that these

   limitations are not governed by § 112 ¶ 6, the recitation of “memory” and “software” provide even

   further structure beyond the processor. Each of these claimed elements connote their own structure

   that is sufficiently definite to end the inquiry. Like “processor” and “code,” “memory” is not a

   generic nonstructural term such as “means,” “element,” or “device.” See Advanced Marketing,

   2016 WL 1741396 at *20; see also Smartflash, 77 F. Supp. 3d at 562-63. “Memory” has a well-

   known structure that a person of ordinary skill would have no problem understanding. The ’676

   patent provides examples of the various memory structures that would be known to a person of

   skill in the art: “A memory may comprise any known type of data storage and/or transmission

   media, including magnetic media, optical media, random access memory (RAM), read-only

   memory (ROM), a data cache, a data object, etc. Moreover, similar to the CPU, the memory may

   reside at a single physical location, comprising one or more types of data storage, or be distributed



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   across a plurality of physical systems in various forms.” ’676 patent at 5:63-6:3.

          Additionally, courts in this district, as well as others, have repeatedly found that software

   terms (including “software code,” “executable . . . code,” “code segment,” and “code”) have

   sufficiently definite structure and, when coupled to the operations performed, are not means-plus-

   function limitations. Smartflash, 77 F. Supp. 3d at 562-63; Smartflash, 2015 WL 4208754 at *3;

   Uniloc USA, 2016 WL 3647977 at *20; Collaborative Agreements, 2015 WL 7753293 at *4–8;

   SuperSpeed, 2014 WL 129225 at *22–23. Each of the recited structural elements—“processor,”

   “memory,” and “software,”—have sufficient structure on their own, and when paired with each

   other, the elements form a system with an undeniably sufficient structure. Defendants’ attempt to

   improperly characterize these claim limitations should be rejected.

          Though the parties list the “memory including software” limitations as two separate claim

   limitations, they are more properly considered as one for purposes of any determination pertaining

   to 35 U.S.C. 112, ¶ 6. The disputed limitation—“memory including software . . . configured, with

   the at least one processor”—is recited once by claim 19, but is required to cause the apparatus to

   perform two operations: (1) “determine that a set of at least one triggering criterion is met” (as

   found in the first claim term above); and (2) “provide a power control headroom report on an

   uplink from user equipment, in response to the set having been met” (as found in the second claim

   term above). ’676 patent at 7:61-67. Each of the claim terms recite an operation that is coupled to

   the system formed by the memory, software, and processor.

          The first operation recited is “determin[ing] that a set of at least one triggering criterion is

   met.” The claim further describes how this “determining” operation is performed in great detail.

   See, e.g., id. at 8:4-10 (“wherein the set of at least one triggering criterion comprises a criterion

   being met based on reaching a threshold of the at least one threshold of k transmission time



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    window” (’022           Structure: “a system combining one
    patent, claim 6)        or more processors (including DSPs,
                            ASICs, FPGAs, etc.), memory, and
                            software, and equivalents thereof”

          The “redundancy version signaling module” (“RV signaling module”) is the name of a

   sufficiently definite structure that is described by the ’022 patent in great detail. The claim

   language itself imparts structure on the RV signaling module. In particular, the RV signaling

   module is required to: (1) detect the start of a system information message transmission window,

   and (2) assign a redundancy version sequence at the start of the transmission window. A person of

   ordinary skill in the art would understand that a “system information message” is utilized within a

   wireless network to transmit information and data between one or more user equipment (UE) and

   a base station (e.g., eNB), and the RV signaling module would reside in a UE, an eNB, or both.

   The RV signaling module enables the communications system to efficiently achieve error

   detection and retransmission of data packets.

          The specification of the ’022 patent informs the meaning and structure of the RV signaling

   module. Referring to Figure 1, the eNB 103 and UE 101 are shown, in this exemplary embodiment,

   to each possess RV signaling modules (117a and 117b, respectively). ’022 patent at 5:3-5, Figure

   1. The RV signaling module performs the implicit signaling of redundancy version information,

   which “may be implemented via software, hardware (e.g., general processor, Digital Signal

   Processing (DSP) chip, an Application Specific Integrated Circuit (ASIC), Field Programmable

   Gate Arrays (FPGAs), etc.), firmware, or a combination thereof.” Id. at 13:56-62. Figure 11

   illustrates the exemplary hardware that may be used for implementing the RV signaling module.

          As described by the specification, the various elements of computing system 1100 may

   operate in combination to perform the operations of the RV signaling module. Id. at 14:25-28

   (“[T]he processes described herein can be provided by the computing system 1100 in response to


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   the processor 1103 executing an arrangement of instructions contained in main memory 1105.”)

   The specification generally describes that the claimed process (as performed by the RV signaling

   module) would be implemented by a processor executing a set of software instructions that can be

   loaded from a storage device into main memory prior to execution. Id. at 14:29-36. Other variations

   on the structure of the RV signaling module are described where either hard-wired circuitry or

   reconfigurable hardware (e.g., FPGAs) are used in place of or in combination with software

   instructions to form the redundancy version signaling module. Id. at 14:36-45.

          Thus, the claim language when viewed in light of the specification imparts a definitive

   structure to the name “RV signaling module.” In particular, given a person of ordinary skill in the

   art’s understanding of the various hardware and software combinations that would be implemented

   with a UE and eNB, the disputed claim limitation would be understood by persons of ordinary

   skill in the art to have a sufficiently definite meaning as the name for structure. See Williamson,

   792 F.3d at 1349; Linear Tech, 379 F.3d at 1320. The name “RV signaling module” connotes a

   definite structure in the form of a system combining one or more processors (including DSPs,

   ASICs, FPGAs, etc.), memory, and software. Accordingly, the “redundancy version signaling

   module” is not a means-plus-function limitation requiring construction under 35 U.S.C. § 112 ¶ 6.

          To the extent the Court determines that this limitation should be construed under § 112 ¶

   6, the structure corresponding to the redundancy version signaling module is a system combining

   one or more processors (including DSPs, ASICs, FPGAs, etc.), memory, and software. As

   described above, this structure is specifically supported by the specification of the ’022 patent. See

   ’022 patent at 13:63-15:54, Figures 11, 12.

   IV.    CONCLUSION

          For the reasons discussed above, CCE respectfully requests that the Court adopt all of its

   proposed constructions and reject all of Defendants’ constructions.

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   Dated: September 19, 2016                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed

   electronically in compliance with Local Rule CV-5 on this 19th day of September, 2016. As of

   this date all counsel of record have consented to electronic service and are being served with a

   copy of this document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                      /s/ Terry A. Saad




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